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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT

OLIVER LUCK,                                   :   CASE NO. 3:20-cv-00516-VAB
                                               :
                     Plaintiff,                :
v.                                             :
                                               :
VINCENT K. MCMAHON,                            :
                                               :
                     Defendant.                :   JULY 22, 2020




        DEFENDANT VINCENT K. MCMAHON’S MEMORANDUM OF LAW IN
     OPPOSITION TO PLAINTIFF’S MOTION TO CERTIFY THE COURT’S JUNE 26,
       2020 ORDER FOR INTERLOCUTORY APPEAL UNDER 27 U.S.C. § 1292(B)


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       Defendant Vincent K. McMahon (“McMahon”) respectfully submits this memorandum

of law in opposition to Plaintiff Oliver Luck’s (“Luck”) motion to certify the Court’s June 26,

2020 Order (“Order”) for an interlocutory appeal under 28 U.S.C. § 1292(b) (ECF No. 82).

                               PRELIMINARY STATEMENT

       Luck seeks an “interlocutory appeal on the issue of whether the Court correctly

determined that Alpha is a required party under Federal Rule of Civil Procedure 19 and that this

lawsuit cannot proceed without it.” (ECF No. 83 at 5.)

       This Court’s determination that Alpha is an indispensable party was explained in a

detailed and considered opinion issued after reviewing a total of six briefs from the parties and

holding both telephonic and videoconference hearings. The Court correctly held that Luck must

first establish that Alpha is liable to Luck under the Employment Contract before McMahon can

be held liable under the Guaranty. Because Luck must first establish Alpha’s liability to him

under the Employment Contract as a predicate to any liability of McMahon under the Guaranty,

the Court correctly determined that Alpha is an indispensable party.       McMahon would be

severely prejudiced if Luck were permitted to hold him liable under the Guaranty without the

required antecedent determination that Alpha is liable under the Employment Contract.

       Luck’s motion completely fails to meet his burden of demonstrating the exceptional

circumstances necessary to warrant immediate appellate review before the entry of a final

judgment under 28 U.S.C. § 1292(b).

       First, Luck has failed to establish that the Order involves a controlling question of law.

The Court’s finding that Alpha is an indispensable party and its decision to stay the case until

Alpha can be joined as a party involve inherently discretionary determinations based on the facts

and circumstances of this case rather than questions of law.



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       Second, Luck has failed to establish that there is a substantial difference of opinion as to

any controlling question of law in the Order. Luck does not argue that the Order presents an

issue of first impression in this Circuit and does not identify any conflicting authority as to any

issue decided by the Court in the Order. Luck’s mere disagreement with the Court’s decision is

insufficient to justify an interlocutory appeal. In any event, the Court’s decision was plainly

correct and entirely consistent with applicable Second Circuit and Connecticut law.

       Third, Luck has failed to establish that an interlocutory appeal would materially advance

the termination of the litigation. Luck has filed a motion to lift the automatic stay in Alpha’s

bankruptcy case, and therefore any request to certify the Order for an interlocutory appeal would

be premature unless and until the bankruptcy court declines to lift the stay. Moreover, if the

Court of Appeals were to hear an interlocutory appeal and affirm the Order, then Luck would

still have to establish Alpha’s liability to him. Even a reversal of the Order would not materially

advance the termination of the litigation—it would merely mean that the litigation could resume.

       Accordingly, Luck’s motion to certify the Order for an interlocutory appeal under 28

U.S.C. § 1292(b) should be denied.

                                        BACKGROUND

       On June 26, 2020, this Court issued the Order that Luck now seeks to appeal, and in the

process, rejected Luck’s extreme position that he was entitled to recover under the Guaranty

regardless of whether Alpha owed him anything under the Employment Contract. (ECF No. 79.)

       The Court noted that “Mr. Luck has sued Mr. McMahon for his alleged breach of the

Guaranty and failure to pay Mr. Luck’s salary and bonus under the Employment Contract,

‘because Alpha wrongfully terminated and repudiated the Employment Contract without cause.’”

(Id. at 9) (quoting Compl. ¶¶ 12-15). The Court then set forth the applicable legal standard for




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evaluating whether a non-party must be joined under Federal Rule of Civil Procedure 19 and

proceeded to apply that standard to determine whether Luck was required to join Alpha as a

party in this action. (Id. at 9-16.) The Court “agree[d]” with McMahon’s position and rejected

the contrary arguments presented by Luck. (Id. at 10-12.)

       First, the Court found that Alpha is a necessary party under Rule 19(a) because Luck

must prove that Alpha breached the Employment Contract as a predicate to establishing

McMahon’s liability under the Guaranty. The Court stated:

       [A]lthough Mr. Luck is suing based on “[Mr.] McMahon’s obligations under the
       Guaranty,” Mr. McMahon only guaranteed “the due and punctual payment a[n]d
       performance by [Alpha] of all its agreements and obligations,” which was “a
       guaranty of payment and not of collection.” In other words, because Alpha had
       terminated Mr. Luck for cause, even if allegedly wrongfully, the Guaranty also
       may have ended, because Mr. Luck was not entitled to any additional payment
       beyond “previously accrued salary and any vested employee benefits.”

(Id. at 13) (citations omitted). Based on controlling Connecticut law, the Court concluded that

“[t]o prevail against Mr. McMahon as a guarantor, Mr. Luck thus would have to establish that

Alpha still had an obligation to him and breached that obligation under the Employment

Contract.” (Id.) (collecting cases). “In other words, the obligations under the guarantee only

arose ‘in the event of a default’ on the underlying obligations of the contract being guaranteed.”

(Id. at 14) (collecting cases). Based on controlling Second Circuit law, the Court therefore held

that Alpha “is a necessary party because the issue of whether Alpha validly terminated Mr. Luck

for cause under the Employment Contract, to which the Guaranty applies, must be resolved, and

Alpha’s absence in this action ‘impede[s] [its] ability to protect’ its ‘interest relating to the

subject of the action.’” (Id. at 14-15) (citation omitted).

       Second, the Court concluded that Alpha was an indispensable party that must be joined

under Rule 19(b). The Court stated that “under Rule 19(b), Alpha is indispensable because ‘a




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party to a contract at issue is the paradigm of an indispensable party.’” (Id. at 15) (collecting

cases). The Court concluded that “Alpha cannot properly protect its interests as a non-party

namely because it is a separate legal entity with possibly differing defenses and counterclaims

from Mr. McMahon as guarantor, and Alpha cannot now seek to protect its interest because it is

currently in bankruptcy proceedings.” (Id.)

       The Court then held that joinder of Alpha was infeasible because of its bankruptcy filing.

The Court stated that the “the automatic stay ‘prevents the commencement or continuation, after

a bankruptcy petition has been filed, of lawsuits and proceedings to recover a claim against the

debtor that arose before the filing of the petition.’” (Id. at 15) (citation omitted). The Court

noted that it also had inherent authority to stay this case and found that “it would be efficient and

in the interests of justice to apply the stay to this litigation brought against Mr. McMahon.” (Id.

at 17.) Accordingly, the Court stayed the case “until Alpha can be joined as an indispensable

party, pending the resolution of the bankruptcy proceeding.” (Id.)

                                      LEGAL STANDARD

       “Federal appellate jurisdiction generally depends upon the entry of a final judgment.”

Richards v. Direct Energy Servs., LLC, No. 3:14-CV-1724, 2015 WL 7428529, at *3 (D. Conn.

Nov. 20, 2015) (Bolden, J.). “[A] party is entitled to a single appeal, to be deferred until final

judgment has been entered, in which claims of district court error at any stage of the litigation

may be ventilated.” Digital Equip. Corp. v. Desktop Direct, Inc., 511 U.S. 863, 868 (1994).

“Permitting piecemeal, prejudgment appeals, we have recognized, undermines efficient judicial

administration and encroaches upon the prerogatives of district court judges, who play a special

role in managing ongoing litigation.” Mohawk Indus., Inc. v. Carpenter, 558 U.S. 100, 106

(2009) (internal quotation marks and citation omitted). “Interlocutory appeals are disfavored,




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and, because the procedure was not intended as a vehicle to provide early review of difficult

rulings in hard cases, a party seeking to appeal must demonstrate exceptional circumstances

justifying it.” Richards, 2015 WL 7428529, at *3 (internal quotation marks and citation omitted).

       The Second Circuit has cautioned district courts to “exercise great care in making a §

1292(b) certification.” Westwood Pharms., Inc. v. Nat'l Fuel Gas Distribution Corp., 964 F.2d

85, 89 (2d Cir. 1992). Section 1292(b) is “a rare exception to the final judgment rule that

generally prohibits piecemeal appeals.” Koehler v. Bank of Bermuda Ltd., 101 F.3d 863, 865 (2d

Cir. 1996). The “use of this certification procedure should be strictly limited because only

exceptional circumstances [will] justify a departure from the basic policy of postponing appellate

review until after the entry of a final judgment.” In re Flor, 79 F.3d 281, 284 (2d Cir. 1996)

(internal quotation marks and citation omitted). “The party that seeks certification under section

1292(b) bears the heavy burden of demonstrating that the case is an exceptional one in which

immediate appeal is warranted.” In re Aggrenox Antitrust Litig., No. 3:14-MD-02516, 2018 WL

834228, at *1 (D. Conn. Feb. 12, 2018) (internal quotation marks and citation omitted).

       Section 1292(b) provides that the District Court can certify an order for an interlocutory

appeal only if three conditions are satisfied: “[1] such order involves a controlling question of

law [2] as to which there is substantial ground for difference of opinion and [3] that an

immediate appeal from the order may materially advance the ultimate termination of the

litigation.” 28 U.S.C § 1292(b). “[T]he power [to grant an interlocutory appeal] must be strictly

limited to the precise conditions stated in the law.” Gottesman v. Gen. Motors Corp., 268 F.2d

194, 196 (2d Cir. 1959). “The proponents of an interlocutory appeal have the burden of showing

that all three of the substantive criteria are met.” In re Facebook, Inc., IPO Sec. & Derivative

Litig., 986 F. Supp. 2d 524, 529–31 (S.D.N.Y. 2014). “Even where these criteria are met, the




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Court retains discretion to deny permission for interlocutory appeal.” Ruggeri v. Boehringer

Ingelheim Pharms., Inc., 585 F. Supp. 2d 308, 310 (D. Conn. 2008).

                                          ARGUMENT

        The Court should deny Luck’s motion to certify the Order for interlocutory appeal under

28 U.S.C. § 1292(b) because he has failed to meet his burden of establishing any of the three

required criteria for certification.

I.      The Order Does Not Involve A Controlling Question of Law.

        An order can be certified for an interlocutory appeal only if “such order involves a

controlling question of law.” 28 U.S.C. § 1292(b).

        “The question of law certified for interlocutory appeal must refer to a pure question of

law.” Stone v. Patchett, No. 08 CV 5171, 2009 WL 1544650, at *2 (S.D.N.Y. June 3, 2009)

(internal quotation marks omitted). “A question of law is pure when the reviewing court could

decide it quickly and cleanly without having to study the record.” U.S ex rel. Drake v. NSI, Inc.,

736 F. Supp. 2d 489, 503 (D. Conn. 2010) (internal quotation marks omitted). “A matter is

controlling where a reversal of the district court’s order would terminate the action.” Id.

        Section 1292(b) certification is not appropriate to review the trial court’s application of

the law to the facts. See Freeman v. Nat'l Broad. Co., No. 85 CIV 3302, 1993 WL 524858, at *1

(S.D.N.Y. Dec. 15, 1993) (“Questions regarding application of the appropriate law to the

relevant facts are generally not suitable for certification under § 1292(b).”); Abortion Rights

Mobilization, Inc. v. Regan, 552 F. Supp. 364, 366 (S.D.N.Y. 1982) (stating that certification

under 1292(b) is not “appropriate for securing early resolution of disputes concerning whether

the trial court properly applied the law to the facts”). Certification is similarly inappropriate to

review mixed questions of law and fact. See Century Pac., Inc. v. Hilton Hotels Corp., 574 F.




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Supp. 2d 369, 371–72 (S.D.N.Y. 2008) (denying certification under section 1292(b) when the

question “would require the Court of Appeals to consider mixed questions of law and fact”);

SEC v. First Jersey Sec., 587 F. Supp. 535, 536 (S.D.N.Y. 1984) (holding that an order was not

appropriate for certification because an appeal “would necessarily present a mixed question of

law and fact, not a controlling issue of pure law”); Freeman, 1993 WL 524858, at *2 (“[M]ixed

questions of law and fact are not appropriate for certification under § 1292(b).”). Certification

also should not be used for matters that are left to the trial court’s discretion. See In re Aggrenox

Antitrust Litig., 2018 WL 834228, at *5 (stating that a controlling question of law “contrasts with

a matter for the discretion of the trial court”) (internal quotation marks omitted).

       Luck’s motion seeks an “interlocutory appeal on the issue of whether the Court correctly

determined that Alpha is a required party under Federal Rule of Civil Procedure 19 and that this

lawsuit cannot proceed without it.” (ECF No. 83 at 5.)

       The Court’s determination that Alpha is an indispensable party under Rule 19 does not

present a pure question of law that can be decided without reviewing the record.                   A

determination of whether a party is indispensable necessarily depends on the facts and

circumstances of each case. See Provident Tradesmens Bank & Tr. Co. v. Patterson, 390 U.S.

102, 118 (1968) (“Whether a person is ‘indispensable,’ that is, whether a particular lawsuit must

be dismissed in the absence of that person, can only be determined in the context of particular

litigation.”). A determination of whether a party is indispensable is also reserved for the trial

court’s discretion. See Teitelbaum v. Wagner, 99 Fed. App’x. 272, 273 (2d Cir. 2004) (“We

review a dismissal for failure to join an indispensable party for abuse of discretion.”); Rapoport

v. Banco Mexicano Somex, S. A., 668 F.2d 667, 669 (2d Cir. 1982) (holding that decision to

dismiss for failure to join an indispensable party “was clearly not an abuse of discretion”). In




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this case, the Court’s decision that Alpha is an indispensable party involved a discretionary

determination based on the particular facts of this case, including consideration of the prejudice

to McMahon and Alpha resulting from its absence, making it an inappropriate subject for an

interlocutory appeal. See Muniz v. Rexnord Corp., No. 04C2405, 2007 WL 257710, at *2 (N.D.

Ill. Jan. 23, 2007) (holding that “the issue [defendant] seeks to appeal, whether [non-party] is an

indispensable party, does not raise a question of law as the term is used in Section 1292(b)” and

“would require the Seventh Circuit to revisit the Court’s application of several factors relevant to

these findings based on the facts of this case”).

       Similarly, this Court’s decision to stay proceedings in this case until Alpha can be joined

as a party is a discretionary determination. See Clinton v. Jones, 520 U.S. 681, 706 (1997) (“The

District Court has broad discretion to stay proceedings as an incident to its power to control its

own docket.”); Louis Vuitton Malletier S.A. v. LY USA, Inc., 676 F.3d 83, 96 (2d Cir. 2012)

(“The power to stay proceedings is incidental to the power inherent in every court to control the

disposition of the causes on its docket with economy of time and effort for itself, for counsel, and

for litigants.”) (internal quotation marks and citation omitted).         The Court’s inherently

discretionary determination that “it would be efficient and in the interests of justice to apply the

stay to this litigation brought against Mr. McMahon” is therefore not the proper subject of an

interlocutory appeal. (ECF No. 79 at 17.)

       Luck nevertheless suggests that his claim that McMahon must pay Luck under the

Guaranty regardless of whether Alpha owes him anything under the Employment Contract

presents a “controlling question of law ripe for Section 1292(b) review.” (ECF No. 83 at 13.)

This claim, however, presents a controlling question of law only if the Guaranty rendered the

Employment Contract meaningless and obligated McMahon to pay Luck $35 million no matter




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what. As discussed below, this Court properly rejected Luck’s extreme position to that effect,

and there is no substantial ground for a difference of opinion on that issue that would warrant

immediate appellate review of the Order.

II.    There Is No Substantial Ground for Difference of Opinion As To A Controlling
       Question of Law.

       An order can be certified for an interlocutory appeal only if there is “a substantial ground

for difference of opinion” as to a controlling question of law. 28 U.S.C. § 1292(b).

       To show a substantial ground for difference of opinion, the plaintiff must establish “(1)

there is conflicting authority on an issue or (2) the case is particularly difficult and of first

impression within this Circuit.” Richards, 2015 WL 7428529, at *3 (internal quotation marks

and citation omitted). A substantial ground for difference of opinion does not exist merely

because a party disagrees with the Court’s decision or believes that the decision was wrong. See

In re Aggrenox Antitrust Litig., 2018 WL 834228, at *6 (“Substantial ground for difference of

opinion requires more than [m]ere disagreement with the decision.”) (internal quotation marks,

citation, and ellipses omitted); Richards, 2015 WL 7428529, at *3 (“[A party’s] belief that the

Court's decision is incorrect as a matter of law cannot alone justify an interlocutory appeal.”);

U.S. ex rel. Drake, 736 F. Supp. 2d at 503 (“Substantial ground for a difference of opinion

requires more than a claim that the court’s ruling was wrong.”).

       Luck has not established a substantial ground for difference of opinion as to any

controlling question of law in the Order. Luck does not claim that the Order presents an issue of

first impression within this Circuit. He does not identify any conflicting authority on any issue

of law decided by the Court. He also does not question whether the Court recited the correct

legal standard governing the joinder of indispensable parties under Rule 19. Indeed, Luck

acknowledges in his motion the “well-established principle” that “a party to a contract at issue is



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the paradigm of an indispensable party.” (ECF No. 83 at 9.) Luck’s only contention is that

Court improperly applied these well-established principles to the facts of this case. Luck’s mere

disagreement with the Order is plainly insufficient to constitute a substantial ground for

difference of opinion. In any event, the Court’s decision was clearly correct.

       A.      The Court Correctly Held That Luck Must Establish Alpha’s Liability
               Under The Employment Contract.

       As an initial matter, the Court correctly held that Luck must prove that Alpha is liable

under the Employment Contract in order to hold McMahon liable under the Guaranty.

       First, the Court correctly noted that Luck’s own complaint initially recognized that he

must prove Alpha’s breach of the Employment Contract to recover under the Guaranty. (ECF

No. 79 at 9) (noting Luck’s complaint alleged that McMahon breached the Guaranty “[b]ecause

Alpha wrongfully terminated and repudiated the Employment Contract without Cause”).

       Second, the Court correctly held that the Guaranty conditioned McMahon’s liability

under the Guaranty on Alpha’s breach of the Employment Contract and failure to pay amounts

owed under the Employment Contract. (Id. at 13) (stating that “McMahon only guaranteed ‘the

due and punctual payment a[n]d performance by [Alpha] of all of its agreements and

obligations’” and that “because Alpha had terminated Mr. Luck for cause, even if allegedly

wrongfully, the Guaranty also may have ended, because Mr. Luck was not entitled to any

additional payment beyond ‘previously accrued salary and any vested employee benefits.’”).

       Third, the Court correctly held that controlling Connecticut law requires Luck to prove

that Alpha defaulted under the Employment Contract and owes money to Luck in order to

establish a breach of the Guaranty. (Id. at 14) (“To prevail against Mr. McMahon as a guarantor,

Mr. Luck would have to establish that Alpha still had an obligation to him and breached that

obligation under the Employment Contract.”) (collecting Connecticut cases).



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       Fourth, the Court correctly held that there is no need to even consider the Guaranty’s

waiver of defenses if Luck cannot meet his prima facie burden of establishing that Alpha owes

him money under the Employment Contract because the Guaranty is not triggered if there is

nothing owed under the Employment Contract.         (Id. at 14)   (“[T]he obligations under the

guarantee only arose ‘in the event of a default’ on the underlying obligations of the contract

being guaranteed.’”) (citing Second Circuit and Connecticut cases).

       Luck does not identify any conflicting authority on any of these issues is his motion.

Luck does cite two Connecticut cases in support of his claim that “the Guaranty and the

Employment Contract are recognized as separate contracts under the law.” (ECF No. 83 at 11)

(citing JP Morgan Chase Bank, N.A. v. Winthrop Props., LLC, 312 Conn. 662 (2014) and

Carpenter v. Thompson, 66 Conn. 457 (1895)). In citing these cases, Luck continues to ignore

that the Employment Contract and the Guaranty are not separate agreements, but were part of the

same agreement: the Employment Contract and the Guaranty became “legally binding” and

“enforceable” only upon execution of both documents (ECF No. 57 at 8), the Employment

Contract and the Guaranty “together embody the entire understanding Mr. Luck, Alpha, and Mr.

McMahon” (id. at 13), and the Guaranty only provides for McMahon to guarantee Alpha’s

obligations under the Employment Contract (id.). The cases cited by Luck also do not support

his argument because they recognize that liability under a guarantee depends on the

interpretation and application of the underlying contract and is only triggered upon a failure to

perform the underlying contract. See JP Morgan, 312 Conn. at 675 (stating that “[a] guarantee is

a promise to answer for another’s debt, default or failure to perform a contractual obligation”);

Carpenter, 66 Conn. at 457 (stating that “the note and guaranty are not contracts so separate and




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independent that each is always complete without the other” and that “in interpreting the

guaranty, the note must be read as a part of the contract.”).

       B.      The Court Correctly Held That Alpha Is An Indispensable Party Because Its
               Obligations Under The Employment Contract Must Be Determined.

       The Court also correctly held that Alpha is an indispensable party under Rule 19 because

resolution of Luck’s claims in this action requires a determination of whether Alpha has any

remaining liability under the Employment Contract. (ECF No. 79 at 14-15.)

       The Court’s conclusion was entirely consistent with the controlling Second Circuit

authority cited in the Order holding that an absent party to a contract at issue is indispensable.

See Visión en Análisis y Estrategia, S.A. v. Andersen, 662 Fed. Appx. 29, 32 (2d Cir. 2016)

(upholding determination that [the non-party] was a necessary party because “resolution of the

plaintiffs’ claims would require determination of [the non-party’s] rights and obligations under

the [contract]”); Jonesfilm v. Lion Gate Int’l, 299 F.3d 134, 141 (2d Cir. 2002) (“If the resolution

of a plaintiff’s claim would require the definition of a non-party’s rights under a contract, it is

likely that the non-party is necessary under Rule 19(a).”); Fluent v. Salamanca Indian Lease

Auth., 928 F.2d 542, 547 (2d Cir. 1991) (“[N]o procedural principle is more deeply imbedded in

the common law than that, in an action to set aside a lease or a contract, all parties who may be

affected by the determination of the action are indispensable.”) (internal quotation marks and

citation omitted); Crouse-Hinds Co. v. InterNorth, Inc., 634 F.2d 690, 700-01 (2d Cir. 1980)

(finding that absent non-party was indispensable because it was party to the contract at issue and

its rights under that contract would be prejudiced if it were not joined as a party); see also Dunn

v. Standard Bank London Ltd., No. 05 CIV. 2749, 2006 WL 217799, at *4 (S.D.N.Y. Jan. 30,

2006) (holding that plaintiff’s employer was a necessary party because whether it “was indeed




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contractually bound to compensate the plaintiffs with particular bonus amounts is the central

issue to be adjudicated in this case”).

       Luck again fails to identify any authority that conflicts with the controlling Second

Circuit authority cited by the Court in its Order. Luck instead continues to rely on the inapposite

decision in MasterCard International Inc. v. Visa International Service Ass’n, 471 F.3d 377 (2d

Cir. 2006). In MasterCard, the Court held that VISA was not an indispensable party because its

separate contract with FIFA was “not the contract at issue in MasterCard’s lawsuit [with FIFA].”

Id. at 386. The Second Circuit expressly distinguished MasterCard from a case where “the

actual contract involving the absent third party was the basis of the claim” and where the non-

party’s “ability to protect its interest in that contract would have been seriously impaired if it

were not made a party to the action.” Id. (citing Crouse-Hinds, 634 F.2d at 700-01). Unlike the

claim in MasterCard, Luck’s claim in this case necessarily turns on whether Alpha breached the

Employment Contract, and Alpha’s interest in the Employment Contract would be impaired if it

were not joined as a party in this action.

       C.      The Court Correctly Held That Alpha Is An Indispensable Party Regardless
               of Whether It Would Be Bound By A Judgment In This Action.

       Previously, Luck argued to this Court that Alpha would not be prejudiced by its absence

because “McMahon is Alpha.” (ECF No. 67 at 6.) Now, Luck inconsistently argues in the

instant motion that Alpha would not be prejudiced by its absence because it is not in privity with

McMahon and therefore would not be bound by any judgment under principles of res judicata

and collateral estoppel. (ECF. No. 83 at 9-10.)

       This Court “agree[d]” with McMahon’s position that “Alpha plainly has an interest in

this Court’s determination of whether it had Cause to terminate the Contract regardless of

whether it is bound by a judgment.” (ECF No. 79 at 12.) The Court’s decision was entirely



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consistent with the numerous cases (including the Global Discount case cited by Luck in his

motion) holding that a party to a contract may be prejudiced by its absence in an action involving

its rights and obligations under that contract regardless of whether it is bound by a judgment.

See Glob. Disc. Travel Servs., LLC v. Trans World Airlines, Inc., 960 F. Supp. 701, 707–09

(S.D.N.Y. 1997) (holding that non-party would be prejudiced because the Court’s interpretation

of the contract in that action “will undoubtedly have a practical effect on any subsequent action”

concerning the contract); Niagara Mohawk Power Corp. v. Tonawanda Band of Seneca Indians,

862 F. Supp. 995, 1003–04 (W.D.N.Y. 1994) (holding that non-party would be prejudiced

because the contract could be interpreted in a manner “adversely to the [non-party] without its

ever having had the opportunity to protect its interest as a party to the agreement”), aff’d, 94 F.3d

747 (2d Cir. 1996); Gellman v. Paul, 85 F.R.D. 357, 358–59 (S.D.N.Y. 1980) (“Although our

interpretation would not be binding as res judicata upon [non-party], the potential prejudice to its

interests is plainly great enough to require joinder if feasible under Rule 19(a).”); Rapoport v.

Banco Mexicano Somex, S.A., 706 F. Supp. 207, 211–12 (S.D.N.Y. 1988) (holding that

“[company] has a plain interest in the result of [plaintiff's] claim against [defendant], an alleged

guarantor of obligations of [company], and is thus a necessary party” regardless of whether it

would be bound by a judgment under res judicata principles). Indeed, the fact that any decision

in this action would not have preclusive effect on Alpha counsels in favor of the Court’s decision

because joinder of Alpha would avoid the potential for duplicative litigation concerning the same

subject matter. See Glob. Disc. Travel Servs., 960 F. Supp. at 708–09 (“Because res judicata will

not bind any subsequent court to this Court's interpretation of the contract, as [plaintiff]

previously argued, [defendant] is at risk of having another court re-decide its rights and

obligations under the Agreement. This situation is precisely what Rule 19 seeks to avoid.”).




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       Luck once again fails to cite any authority contrary to the cases above to support his

argument that Alpha is not an indispensable party merely because it would not be bound by a

judgment in this action under principles of preclusion.

       D.      Luck Ignores The Substantial Prejudice To McMahon If Alpha Were Not
               Joined As A Party In This Action.

       Luck acknowledges in his motion that the determination of whether an absent party is

indispensable under Rule 19 requires the Court to consider “the potential prejudice to existing

and absent parties.” (ECF No. 83 at 9) (emphasis added). Having done so, Luck entirely ignores

the substantial prejudice to McMahon if Alpha were not joined as a party in this action.

       McMahon would be seriously prejudiced if the Court were to dispense with the

requirement that Luck must first establish that Alpha has remaining liability to Luck under the

Employment Contract in order to establish McMahon’s liability under the Guaranty. McMahon

executed a Guaranty that only applied to Alpha’s obligations actually owed to Luck under the

Employment Contract. McMahon would be prejudiced if Luck were relieved of his burden of

proving that he was not properly terminated for cause and that payments are actually owed to

him under the Employment Contract. McMahon also would be prejudiced because Alpha’s

absence in this action could affect his ability to present critical evidence to rebut Luck’s claim

that his termination for cause was improper, including communications protected by an attorney-

client privilege that can only be waived by Alpha. In his sworn declaration supporting his

prejudgment remedy application, Luck testified falsely regarding the XFL’s player personnel

policy. Establishing the falsity of Luck’s statements demonstrates that he was not complying

with the actual policy, which is grounds to terminate him for cause—and it is communications

with counsel that will establish their falsity. Accordingly, the Court’s finding that Alpha is an

indispensable party in this action was also supported by the fact that McMahon would be



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significantly prejudiced by Alpha’s absence. See Gellman, 85 F.R.D. at 358–59 (failure to join a

party might still “unnecessarily prejudice the rights of defendants already present, since the risk

of their being held liable may increase in the absence of a necessary party defendant”).

III.   An Immediate Appeal From The Order Would Not Materially Advance The
       Ultimate Termination of the Litigation.

       An order can be certified for an interlocutory appeal only if “an immediate appeal from

the order may materially advance the ultimate termination of the litigation.” 28 U.S.C. § 1292(b).

       “The use of § 1292(b) is reserved for those cases where an intermediate appeal may avoid

protracted litigation.” Koehler, 101 F.3d at 865-66. “Section 1292(b) was not intended to open

the floodgates to a vast number of appeals from interlocutory orders in ordinary litigation, or to

be a vehicle to provide early review of difficult rulings in hard cases. Rather certification is

warranted only in exceptional cases, where early appellate review might avoid protracted and

expensive litigation.” Calderon v. Symeon, No. 3:06CV1130, 2007 WL 842005, at *3 (D. Conn.

Mar. 13, 2007) (internal quotation marks and citation omitted). The third requirement for

certification therefore can be satisfied only “where an intermediate appeal would advance the

ultimate termination of a litigation or if the appeal would advance the time to trial or shorten the

trial.” U.S. ex rel. Drake, 736 F. Supp. 2d at 503.

       Luck cannot meet his burden of establishing that an immediate appeal of the Court’s

order will materially advance the ultimate termination of this litigation for several reasons.

       First, on July 17, 2020, Luck filed a motion to lift the automatic stay in Alpha’s

bankruptcy case so that he can join Alpha in this lawsuit. See In Re: Alpha Entertainment LLC,

Case No. 20-10940-LSS (Bankr. D. Del.) (ECF No. 295). Luck’s motion to certify this Court’s

Order for an interlocutory appeal is at least premature until the bankruptcy court rules on his




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motion to lift the automatic stay. If the bankruptcy court does lift the stay, then this case could

proceed and any appeal would be moot.

       Second, an interlocutory appeal of the Court’s Order would not materially advance the

ultimate termination of this litigation in any event. As an initial matter, Luck’s argument relies

on the unproven proposition that any appeal will be resolved before Alpha’s bankruptcy

proceeding is resolved and the stay is lifted in this case. Moreover, if the Court of Appeals were

to hear the appeal and affirm the Order, then Luck would still be required to join Alpha as an

indispensable party before this case can proceed against McMahon. If the Court of Appeals were

to reverse the Order, then Luck would not be required to join Alpha as a party, but any such

ruling would not be dispositive and would not materially advance the termination of the

litigation—it would merely allow the litigation to proceed.            Neither party has produced

documents responsive to discovery requests or provided answers to interrogatories. Neither

party has taken any depositions. Neither party has taken any discovery regarding the grounds for

Luck’s termination for cause under the Employment Contract. Although Luck has made certain

contentions about the Guaranty, there has been no discovery regarding the negotiation or drafting

history of the Guaranty, which McMahon will show was drafted by Luck and an unknown

attorney acting for Luck. That yet to be developed testimony may impact canons of construction

to be applied against Luck’s position. Accordingly, reversal of the Order would not resolve any

of the remaining issues that are relevant to the merits of the case.

       Third, reversal of the Order would actually increase the possibility of protracted and

expensive litigation. Such a result is directly contrary to a fundamental purpose of certifying

orders for interlocutory appeal—the avoidance protracted and expensive litigation.




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                                        CONCLUSION

       For the reasons set forth above, the Court should deny Luck’s motion to certify the Order

for an interlocutory appeal under 28 U.S.C. § 1292(b).




                                                   DEFENDANT VINCENT K. MCMAHON

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                               CERTIFICATION OF SERVICE

        I hereby certify that, on July 22, 2020, a copy of the foregoing was filed electronically
and served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent
by e-mail to all parties by operation of the Court’s electronic filing system or by mail to anyone
unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may
access this filing through the Court’s CM/ECF System.

                                                   /s/ Jeffrey P. Mueller
                                                  Jeffrey P. Mueller (ct27870)




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